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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                                TYLER DIVISION


 ROTHSCHILD BROADCAST
 DISTRIBUTION SYSTEMS, LLC,

            Plaintiff,

      v.                                    Case No. 6:15-CV-227-RWS-JDL

 DISCOVERY COMMUNICATIONS, INC.,

            Defendant.




            MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                       PURSUANT TO 35 U.S.C. § 101
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 I.     INTRODUCTION

        Defendant Discovery Communications, Inc. (―Discovery‖) moves to dismiss this patent

 infringement action because Plaintiff Rothschild Broadcast Distribution Systems, LLC has failed

 to state a claim upon which relief can be granted. Specifically, the claims of Plaintiff‘s sole

 asserted patent, U.S. Patent No. 8,856,221 (the ―‘221 Patent‖), are invalid under 35 U.S.C. § 101

 as drawn to patent-ineligible subject matter—the abstract idea of storing and delivering media

 content.

        To police against improper patents, the Supreme Court mandates a two-step analysis for

 patent eligibility: First, a court evaluates whether the patent is drawn merely to an abstract idea

 in general. Second, a court determines if the patent‘s claims contain any inventive step that takes

 the patent outside the realm of the abstract. As shown below, the ‘221 patent is drawn to an

 abstract idea, and there is no inventive element on which the Plaintiff can rely to save this patent.

        The ‘221 Patent, entitled ―System and Method for Storing Broadcast Content in a Cloud-

 Based Computing Environment,‖ generally describes a process in which one receives a request

 for media content (for example, a video), determines whether the video is available, and, if so,

 delivers it to the person who requested it. This rote inventory checking, retrieval, and delivery

 procedure describes nothing beyond an abstract idea and could be performed by, for example,

 any video rental store employee who, at a customer‘s request, checks whether a particular video

 is in stock and, if so, provides it to the customer. This is an everyday process of the retail world,

 applicable to any business that sells some kind of good, whether tangible or digital. One receives

 a request, confirms availability of the product or acquires it, and arranges for delivery.

 Moreover, the ‘221 Patent‘s effort to computerize this everyday process falls far short of adding

 an inventive concept that would set any meaningful bounds on the patent‘s purported monopoly



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 of the abstract idea.

         Given this, the ‘221 patent is invalid and Plaintiff‘s complaint should thus be dismissed

 with prejudice. Indeed, patents covering far more sophisticated business methods have been

 declared invalid by the Supreme Court, the Federal Circuit, and this Court. See, e.g., Alice Corp.

 v. CLS Bank Int’l, 134 S. Ct. 2347, 2352 (2014) (invalidating patent covering abstract idea of

 computerized settlement intermediation); Ultramercial, LLC v. Hulu, LLC, 772 F.3d 709, 711-12

 (Fed. Cir. 2014) (invalidating patent covering abstract idea for ad-supported media delivery

 system); Clear With Computers, LLC v. Altec Indus., Inc., No. 6:14-cv-79, 2015 WL 993392, at

 *1, *4 (E.D. Tex. Mar. 3, 2015) (invalidating patent involving ―abstract idea of creating a

 customized sales proposal for a customer‖); Loyalty Conversion Sys. Corp. v. Am. Airlines, Inc.,

 No. 2:13-CV-655, 2014 WL 4364848, at *7, *14 (E.D. Tex. Sept. 3, 2014) (Bryson, J., sitting by

 designation) (invalidating patent that set forth ―the general concept of currency exchange, as

 applied to loyalty awards‖); Clear with Computers, LLC v. Dick’s Sporting Goods, Inc., 21 F.

 Supp. 3d 758, 761, 765 (E.D. Tex. 2014) (invalidating patent involving ―abstract idea of

 inventory-based selling‖).

         Accordingly, this Court should dismiss Plaintiff‘s complaint for failure to state a claim.

 II.     STATEMENT OF THE ISSUE

         Whether the ‘221 Patent‘s claims—for systems and methods for storing and delivering

 media content—are directed to an abstract idea and, therefore, ineligible for a patent under

 Section 101 of the Patent Act, 35 U.S.C. § 101.




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 III.   BACKGROUND

        A.      Plaintiff’s Complaint

        On March 19, 2015, Plaintiff filed its complaint for patent infringement against

 Discovery. Separately, Plaintiff filed similar suits in this Court against nine other companies,

 asserting the same patent.1     All cases have been assigned to Judge Schroeder.          No case

 management order has issued in any of the cases.

        Plaintiff claims to own or have the right to enforce the ‘221 Patent. Compl., Dkt. No. 1

 ¶ 7. Plaintiff asserts that the ‘221 Patent‘s claims relate to a ―‗system for media content storage

 and delivery‘ comprising a variety of features‖ and a ―‗method for storing media content and

 delivering requested media content to a consumer device.‘‖ Id. ¶¶ 10, 12 (quoting ‗221 patent,

 claims 1 and 7). Plaintiff further asserts that Discovery‘s systems ―are ‗a system for media

 content storage and delivery‘‖ and that Discovery ―practices a ‗method for storing media content

 and delivering requested media content to a consumer device.‘‖ Id. ¶¶ 11, 13 (quoting ‗221

 patent, claims 1 and 7).

        B.      The ’221 Patent

        The ‘221 Patent issued on October 7, 2014 and was initially assigned to its inventor,

 Leigh M. Rothschild. Compl., Dkt No. 1, ¶ 7. The ‘221 Patent claims priority to a provisional

 application filed on August 29, 2011. ‘221 Patent 1:8-17.

        The ‘221 Patent‘s abstract states that the patent covers ―[a] system, method and device

 for media content storage and delivery,‖ and that the invention relates to the field of ―on-demand

 storage and delivery of media content.‖ Id. 1:25-27. The ―background‖ section of the ‘221

 1
   These cases are: Comcast Corp., 6:15-cv-226; Vimeo, LLC, 6:15-cv-232; NGC Networks US,
 LLC, 6:15-cv-228; Univision Communications, Inc., 6:15-cv-229; UStream, Inc., 6:15-cv-230;
 VBrick Sys., Inc., 6:15-cv-231 (dismissed by stipulation); Vudu, Inc., 6:15-cv-233; Wistia, Inc.,
 6:15-cv-234 (notice of voluntary dismissal filed); and Crunchyroll, Inc., 6:15-cv-238.


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 specification states that ―[t]he widespread growth of communication networks and internet

 enabled consumer devices allow consumers to stream on-demand videos and music.‖ Id. 1:31-

 33. The specification continues:

         The on-demand video and music service is typically provided by large companies
         or second party distributors that store the media content for streaming to the
         consumer devices. For example, a television company may maintain a television
         server that stores all television shows that are broadcast by the television company
         such that the consumer may stream the stored television show on the consumer
         device. This requires the television company to store all or substantially all the
         shows broadcast by the television company, which requires a great deal of data
         storage and often comes at a significant cost to the television company.

 Id. 1:33-44.

         According to the specification, the innovation suggested by the ‘221 Patent is a system or

 method by which a broadcaster could store content that is most frequently requested by

 consumers on a ―broadcast server‖ while keeping its entire programming catalog on a ―remote

 server‖ (where, presumably, it costs less to store content). Id. 3:47-49. If a consumer requests

 content that is already on the broadcast server, the system can deliver the content immediately.

 If the consumer requests content that is only on the remote server, the system can put the content

 in a queue for release onto the broadcast server for delivery to the consumer. But the issued

 claims, which control here, are not so limited, and broadly suggest an even more abstract

 concept—a system ―configured to receive a request‖ for ―storage‖ or ―delivery‖ of ―media

 content‖ that is ―further configure[d] to initiate delivery of the requested media content to the

 consumer device.‖ E.g., id. 10:44-67.

         The ‘221 Patent contains 13 claims—two of which (claims 1 and 7) are independent

 claims. Both independent claims are directed to the same general idea of, upon a consumer‘s

 request, checking to see whether an item of media content is available, and both claims feature

 nearly identical limitations (as italicized):



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  1. A system for media content storage and            7. A method for storing media content and
  delivery, the system comprising:                     delivering requested media content to a
                                                       consumer device, the method comprising:
   a first server, the first server including:
     a first receiver, the first receiver configured    receiving a request message including
     to receive a request message including             media data indicating requested media
     media data indicating requested media              content and a consumer device identifier
     content and a consumer device identifier           corresponding to the consumer device;
     corresponding to a consumer device; and
     a first processor in communication with the        determining whether the consumer device
     first receiver, the first processor configured     identifier corresponds to a registered
     to determine whether the consumer device           consumer device; and
     identifier corresponds to a registered
     consumer device;
     if the first processor determines that the         if it is determined that the consumer device
     consumer device identifier corresponds to          identifier corresponds to the registered
     the registered consumer device, then:              consumer device, then:
       the first processor is further configured to       determining, whether the request message
       determine whether the request message is           is one of a storage request message and a
       one of a storage request message and a             content request message; and
       content request message;
     if the request message is the storage request      if the request message is the storage request
     message, then the processor is further             message, then determining whether the
     configured to determine whether the                requested media content is available for
     requested media content is available for           storage; and
     storage; and
     if the request message is the content request      if the request message is the content request
     message, then the processor is further             message, then initiating delivery of the
     configured to initiate delivery of the             requested media content to the consumer
     requested media content to the consumer            device;
     device;
     wherein the media data includes time data          wherein the media data includes time data
     that indicates a length of time to store the       that indicates a length of time to store the
     requested media content; and                       requested media content; and
     the first processor is further configured to       the first processor is further configured to
     determine whether the requested media              determine whether the requested media
     content exists; and                                content exists; and
     if the processor determines that the               if the processor determines that the
     requested media content exists, the                requested media content exists, the
     processor is further configured to                 processor is further configured to determine
     determine whether the requested media              whether the requested media content is
     content is available and whether there are         available and whether there are restrictions
     restrictions associated with the requested         associated with the requested media content
     media content that prevent the requested           that prevent the requested media content
     media content from being delivered to the          from being delivered to the consumer
     consumer device.                                   device.


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        The eleven dependent claims (claims 2-6, 8-13) add insubstantial limitations to the

 corresponding independent claims 1 and 7:

               Providing a message confirming that requested media content is available for
                storage (claims 2, 8).

               Providing a message prompting a user to register a consumer device (claim 3).

               Providing memory to store consumer user data including consumer device data
                (claims 4, 9).

               Verifying that a consumer device identifier is associated with a particular
                consumer (claims 5, 11).

               Transmitting requested media content after verifying that a consumer device
                identifier corresponds to a registered consumer device (claim 6).

               Informing the consumer of the cost of the requested media content (claim 12) and
                doing the same where the cost does not vary based upon the number of times the
                content is delivered (claim 13).

        The ‘221 Patent reflects no invention of any new software or hardware. Instead, the

 claimed systems and methods operate with well-known computer components. The patent states

 that the purported invention can be put into practice using ―[a]ny kind of computing system,‖ and

 that ―[a] typical combination of hardware and software could be a specialized or general purpose

 computer system.‖ Id. 10:12-19. A consumer device ―may include wired or wireless devices

 such as mobile phones, personal digital assistant devices, personal computers, laptop computers,

 tablet computers, digital video recorders, televisions, digital versatile disc players, among other

 devices that may communicate via network.‖ Id. 3:56-60. The processors may include a

 ―central processing unit (CPU) for executing computer program instructions stored in memory,

 as is well known in the art.‖ Id. 3:65-67. ―Memory may include non-volatile and volatile

 memory.‖ Id. 4:1-3. Non-volatile memory ―may include a hard drive, memory stick, flash

 memory and the like,‖ and ―volatile memory may include random access memory and others

 known in the art.‖ Id. 3:3-5. The various items of hardware communicate ―via network using


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 communication protocols known in the art, e.g., Internet Protocol.‖ Id. 3:50-52.

 IV.    LEGAL STANDARDS

        To survive a Rule 12(b)(6) motion, a complaint ―must provide the plaintiff‘s grounds for

 entitlement to relief—including factual allegations that when assumed to be true raise a right to

 relief above the speculative level.‖ Cuvillier v. Sullivan, 503 F.3d 397, 401 (5th Cir. 2007)

 (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)) (internal quotation marks

 omitted). In deciding a Rule 12(b)(6) motion, courts may consider facts alleged in the complaint

 as well as documents attached to or incorporated into the complaint. See Lovelace v. Software

 Spectrum, 78 F.3d 1015, 1017 (5th Cir. 1996). Although factual allegations are taken as true,

 this principle ―is inapplicable to legal conclusions.‖ Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

        Whether a patent is drawn to patentable subject matter is an appropriate issue for a

 motion to dismiss. See, e.g., Ultramercial, LLC v. Hulu, LLC, 772 F.3d 709, 711-12 (Fed. Cir.

 2014) (―[W]e conclude that the ‗545 patent does not claim patent-eligible subject matter and

 accordingly affirm the district court‘s grant of WildTangent‘s motion to dismiss.‖); In re Bilski,

 545 F.3d 945, 950 (2008) (patent eligibility is ―a threshold inquiry‖ for court to decide), aff’d,

 Bilski v. Kappos, 561 U.S. 593 (2010); Clear with Computers, LLC v. Altec Indus., Inc., No.

 6:14-cv-79, 2015 WL 993392, at *4 (E.D. Tex. Mar. 2, 2015) (granting Rule 12(b)(6) motion to

 dismiss based upon patent ineligibility under Section 101); Eclipse IP LLC v. McKinley Equip.

 Corp., No. SACV 14-742-GW(AJWx), 2014 WL 4407592, at *6 (C.D. Cal. Sept. 4, 2014)

 (same); Uniloc USA, Inc. v. Rackspace Hosting, Inc., 18 F. Supp. 3d 831, 834 (E.D. Tex. 2013)

 (same); UbiComm, LLC v. Zappos IP, Inc., No. 13-1029-RGA, 2013 WL 6019203, at *6 (D.

 Del. Nov. 13, 2013) (same)).

        In deciding patentability, a court need not review all claims, but only those that are




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 representative of the claimed invention as a whole.         See Ultramercial, 772 F.3d at 712

 (reviewing only claim 1 as ―representative‖ and noting that ―the other claims of the patent are

 drawn to a similar process‖ and therefore ―suffer from the same infirmity as claim 1 and need not

 be considered further‖). Nor need the court formally construe the patent‘s claims in order to

 decide patentability. See id. (―The district court granted WildTangent‘s pre-answer motion to

 dismiss under Rule 12(b)(6) without formally construing the claims.‖); see also id. at 714-15

 (examining patentability ―[w]ithout purporting to construe the claims‖); Clear with Computers,

 2015 WL 993392, at *3 (―[T]he particular facts of this case indicate that claim construction is

 unnecessary.‖); Genetic Techs. Ltd. v. Lab. Corp. of Am. Hldgs., No. 1201736-LPS-CJB, 2014

 WL 4379587, at *1 (D. Del. Sept. 3, 2014) (deciding Section 101 motion prior to claim

 construction is appropriate where no disputed areas of fact are relevant to motion). As one

 Federal Circuit judge has observed, ―[p]atent eligibility issues can often be resolved without

 lengthy claim construction, and an early determination that the subject matter of asserted claims

 is patent ineligible can spare both litigants and courts years of needless litigation.‖ I/P Engine,

 Inc., v. AOL, Inc., 576 Fed. App‘x 982, 996 (Fed. Cir. 2014) (Mayer, J., concurring).

 V.     ARGUMENT

        The Supreme Court employs a two-step process to determine whether a patent is directed

 to eligible subject matter. See Alice Corp. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). The

 first step asks whether the patent‘s claims are directed to patent-ineligible subject matter such as

 an abstract idea. Id. If so, the second step asks whether the patent‘s claims contain any

 inventive step that takes the patent outside of the realm of the abstract. Id. As shown below, the

 ‘221 Patent fails the Supreme Court‘s test because its claims (1) are directed to an abstract

 idea—storing and delivering media content; and (2) do not contain any inventive concept that




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 would otherwise prevent the claims‘ monopolization of this abstract idea.

        A.       The Standard for Determining Eligible Patent Subject Matter

        Section 101 of the Patent Act defines the subject matter eligible for patent protection:

 ―Whoever invents or discovers any new and useful process, machine, manufacture, or

 composition of matter, or any new and useful improvement thereof, may obtain a patent therefor,

 subject to the conditions and requirements of this title.‖ 35 U.S.C. § 101. The Supreme Court

 has ―long held that this provision contains an important implicit exception: Laws of nature,

 natural phenomena, and abstract ideas are not patentable.‖ Ass’n for Molecular Pathology v.

 Myriad Genetics, Inc., 133 S. Ct. 2107, 2116 (2013) (alterations and internal quotation marks

 omitted).   Animating this limitation is the Court‘s concern is that laws of nature, natural

 phenomena, and abstract ideas serve as basic tools for all scientific and technological work and

 that ―monopolization of those tools through the grant of a patent might tend to impede

 innovation more than it would tend to promote it.‖ Mayo Collaborative Servs. v. Prometheus

 Labs, Inc., 132 S. Ct. 1289, 1293 (2012).

        The Supreme Court has articulated a two-step framework for determining patentable

 subject matter. See Alice, 134 S. Ct. at 2355. First, a court must ―determine whether the claims

 at issue are directed to one of those patent-ineligible concepts,‖ such as an abstract idea. Id.

 Second, if the claims are so directed, the court must then consider ―the elements of each claim

 both individually and ‗as an ordered combination‘ to determine whether the additional elements

 ‗transform the nature of the claim‘ into a patent-eligible application.‖ Id. (quoting Mayo, 132 S.

 Ct. at 1297).    This second step searches for an ―‗inventive concept‘—i.e., an element or

 combination of elements that is ‗sufficient to ensure that the patent in practice amounts to

 significantly more than a patent upon the [ineligible concept] itself.‘‖ Id. (alteration in original)




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 (quoting Mayo, 132 S. Ct. at 1294).

        B.      Recent Case Law Concerning Attempts to Patent Abstract Ideas

        In recent years, the Supreme Court has strongly signaled that the federal courts should

 root out patents that are unworthy of the limited monopoly conferred by the patent laws,

 including so-called business-method patents that purport to cover basic practices in the

 commercial marketplace. In Bilski, the Court held that a patent directed to a ―method for

 hedging against the financial risk of price fluctuations‖ was invalid for claiming an abstract

 idea—namely the ―fundamental economic practice‖ of hedging. Alice, 134 S. Ct. at 2355-56

 (citing Bilski v. Kappos, 561 U.S. 593, 611 (2010)). In Alice, the Court reviewed a patent that

 involved a ―method of exchanging financial obligations between two parties using a third-party

 intermediary to mitigate settlement risk. Id. at 2356. The Court had little trouble concluding

 that, as with risk hedging, the concept of ―intermediated settlement‖ is a fundamental economic

 practice that falls ―squarely within the realm of ‗abstract ideas.‘‖ Id. at 2357.

        Moving onto the second step, the Court stated that tying the idea of intermediated

 settlement to a computer could not supply the necessary inventive concept to save the patent.

 The Court observed that its cases ―demonstrate that the mere recitation of a generic computer

 cannot transform a patent-ineligible abstract idea into a patent-eligible invention.‖ Id. at 2358.

 ―Stating an abstract idea while adding the words ‗apply it with a computer‘ simply combines

 those two steps, with the same deficient result.‖ Consequently, if a patent merely ―implement[s]

 an abstract idea on a computer, that addition cannot impart patent eligibility.‖ Id. at 2358

 (citation, alterations, and internal quotation marks omitted).

        None of the things performed by computers in the Alice patent was sufficient to save it.

 For example, the Court held that the use of a computer to ―create and maintain ‗shadow‘




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 accounts amounts to electronic recordkeeping,‖ performing ―one of the most basic functions of a

 computer.‖ Id. at 2359. Similarly, ―the use of a computer to obtain data, adjust account

 balances, and issue automated instructions‖ were all ―well-understood, routine, conventional

 activit[ies]‖ in the computer industry. Id. As a result, ―none of the hardware recited by the

 system claims offers a meaningful limitation beyond generally linking the use of the method to a

 particular technological environment, that is, implementation via computers.‖        Id. at 2360

 (alterations and internal quotation marks omitted).

        Several months after Alice, the Federal Circuit decided Ultramercial, Inc. v. Hulu, LLC,

 which involved a patent claiming ―a method for distributing copyrighted media products over the

 Internet where the consumer receives a copyrighted media product at no cost in exchange for

 viewing an advertisement, and the advertiser pays for the copyrighted content.‖ 772 F.3d 709,

 712 (Fed. Cir. 2014). At step one of the Alice analysis, the court found that ―[t]he process of

 receiving copyrighted media, selecting an ad, offering the media in exchange for watching the

 selected ad, displaying the ad, allowing the consumer access to the media, and receiving payment

 from the sponsor of the ad all describe an abstract idea, devoid of a concrete or tangible

 application.‖ Id. at 715.

        Moving on to step two of the Alice inquiry, the Federal Circuit found that the ―[t]he

 majority of those [method] steps comprise the abstract concept of offering media content in

 exchange for viewing an advertisement,‖ and that appending ―routine additional steps such as

 updating an activity log, requiring a request from the consumer to view the ad, restrictions on

 public access, and use of the Internet does not transform an otherwise abstract idea into patent-

 eligible subject matter.‖ Id. at 715-16. ―Instead, the claimed sequence of steps comprises only

 conventional steps, specified at a high level of generality.‖ Id. at 716 (internal quotation marks




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 omitted). In addition, the Federal Circuit held that merely applying an idea to the Internet—even

 where one is the first to do so—is insufficient where the underlying problem to be solved is not

 unique to the Internet. Id. Instead, to survive, claims must be ―necessarily rooted in computer

 technology in order to overcome a problem specifically arising in the realm of computer

 networks‖ and not merely claiming (as in this case) a ―computer network operating in its normal,

 expected manner‖ or reflecting ―merely the routine or conventional use of the Internet.‖ DDR

 Holdings, LLC v. Hotels.com LP, 773 F.3d 1245, 1257-59 (Fed. Cir. 2014) (emphasis added). In

 short, one cannot simply take routine and conventional ideas, and patent the use of those ideas on

 a digital medium.

        In the wake of Alice and Ultramercial, district courts around the country have rejected

 numerous patents directed to abstract methods and systems. See, e.g., OpenTV, Inc. v. Apple,

 Inc., No. 14-cv-01622-HSG, 2015 WL 1535328, *4 (N.D. Cal. Apr. 6, 2015) (patent claiming

 ―use of identification codes to organize and transmit confidential information‖ held drawn to

 abstract idea); Advanced Auctions, LLC v. eBay Inc., No. 13CV1612 BEN (JLB), 2015 WL

 1415265, at *5 (S.D. Cal. Mar. 27, 2015) (―The patent itself describes implementing an existing

 abstract idea—an auction—refined for implementation on the Internet.‖); Tenon & Groove, LLC

 v. Plusgrade S.E.C., No. 12-1118-GMS-SRF, 2015 WL 1133213, at *2 (D. Del. Mar. 11, 2015)

 (―computer-implemented method for concurrent optimization of value in a transaction between

 at least two entities‖ held an abstract idea); Essociate v. Clickbooth.com, LLC, No. SACV 13–

 01886–JVS (DFMx), 2015 WL 1428919, at *5 (C.D. Cal. Feb. 11, 2015) (―steps for how a

 merchant can gain access to customers from a referring entity without having to compete with

 other merchants for those same customers‖ held merely to describe abstract idea); In re TLI

 Commc’ns LLC Patent Litig., MDL No. 1:14md2534, 2015 WL 627858, at *8 (E.D. Va. Feb. 6,




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 2015) (―[T]he ‗295 patent claims at issue are clearly directed to the abstract idea of taking,

 organizing, classifying, and storing photographs.‖); Open Text S.A. v. Box, Inc., No. 13–cv–

 04910–JD, 2015 WL 269036, at *3 (N.D. Cal. Jan. 20, 2015) (―Shorn of its implementation-

 specific fleece, the claim is directed at providing a method for people to collaborate and share

 information without the need for specialized software or expertise.‖); Synopsys v. Mentor

 Graphics Corp., No. C 12–6467 MMC, 2015 WL 269116, at *3 (N.D. Cal. Jan. 20, 2015)

 (―[T]he asserted claims are directed to the process of interference, which is fundamental to IC

 design and can be performed mentally.‖); Bascom Research, LLC v. LinkedIn, Inc., No. 12–cv–

 06293–SI, 2015 WL 149480, at *8 (N.D. Cal. Jan. 5, 2015) (patent described ―abstract idea of

 creating, storing and using relationships between objects‖); Morales v. Square, Inc., No. 5:13–

 cv–1092–DAE, 2014 WL 7396568, at *7 (W.D. Tex. Dec. 30, 2014) (―Claim 6 of the ‗589

 patent encompasses an abstract idea because it describes the fundamental concept of relaying a

 signal containing the sender‘s identity.‖).

        Two recent decisions in this district are particularly instructive. First, in Clear with

 Computers, LLC v. Dick’s Sporting Goods, Inc., 21 F. Supp. 3d 758 (E.D. Tex. 2014) (―Clear

 with Computers I‖),2 the Court reviewed a patent titled, ―Inventory Sales System and Method,‖

 claiming the following steps: ―(1) receiving a product query, (2) determining the availability of

 products and associated options in inventory, (3) preparing a list of available options, and (4)

 presenting the list.‖ Clear with Computers I, 21 F. Supp. 3d at 761, 765. Judge Davis found that

 (1) the patent ―involves the abstract idea of inventory-based selling,‖ and (2) the patent‘s use of a

 ―computer system with a configuration engine‖ did not meaningfully limit the claims as the steps

 ―can be performed entirely by a human, mentally or with pencil and paper.‖ Id.

 2
    Clear with Computers I was decided before Alice and Ultramercial, but anticipates the
 analytical framework used in both cases.


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        Second, in Clear with Computers, LLC v. Altec Industries, Inc., No. 6:14-cv-79, 2015

 WL 993392 (E.D. Tex. Mar. 3, 2015) (―Clear with Computers II‖), the Court reviewed a patent

 titled, ―Electronic Proposal Preparation System for Selling Computer Equipment and Copy

 Machines,‖ claiming a ―computer-implemented method to (1) present questions to, and receive

 answers from, a customer regarding products for sale; (2) based on at least one answer, select a

 picture of the product, a picture of the product environment, and a textual product description;

 and (3) put the pictures and text into a single visual output as part of a customized proposal for

 sale.‖ Clear with Computers II, 2015 WL 993392, at *4. Judge Gilstrap found that (1) the

 patent was drawn to the ―abstract idea of creating a customized sales proposal for a customer,‖

 and (2) the computerization of the patent‘s steps added nothing because ―[t]he steps performed

 by the claimed computer elements are functional in nature and could easily be performed by a

 human.‖ Id.

        Notably, in both Clear with Computers I and II, the Court invalidated the patents at the

 pleadings stage without conducting claim construction. See Clear with Computers I, 21 F. Supp.

 3d at 762, 764; Clear with Computers II, 2015 WL 993392 at *3. Here, as in Clear with

 Computers II, claim construction is unnecessary because ―the claim language is relatively

 simple.‖ 2015 WL 993392, at *3.

        C.      The ’221 Patent Is Not Directed to Patent-Eligible Subject Matter.

                1.     The ’221 Patent Is Directed to an Abstract Idea.

        The ‘221 Patent plows similar ground as the patent at issue in Ultramercial: It describes

 a method and system for storing and delivering media content. Plaintiff itself concedes the

 abstract nature of the ‘221 claims when it alleges that the claims are drawn to (1) a ―system for

 media content storage and delivery‖ and a ―method for storing media content and delivering




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 requested media content to a consumer device.‖ Comp., Dkt No. 1, ¶ 12; see also ‘221 Patent,

 abstract (―A system, method, and device for media content storage and delivery.‖).

        Independent claims 1 and 7, which are representative of the claimed invention, recite the

 following steps:

        (a)     Receiving messages from consumers requesting content;

        (b)     Confirming that the consumer is using a registered consumer device;

        (c)     Determining whether the consumer has sent a request for immediate delivery or
                for storage;

        (d)     Determining whether the requested content is available for either immediate
                delivery or storage;

        (e)     Checking whether there are restrictions on delivery to the consumer device; and

        (f)     Delivering the content if available.

        These steps describe, at a high level of generality, a process for receiving a consumer

 request for an item, reviewing the request to determine whether it contains certain information,

 and delivering the requested item. This claims nothing more than the ubiquitous business

 practice of checking one‘s inventory to see if an item requested by a customer is in stock. 3 None

 of this is unique to online media; indeed, these familiar practices are integral to every business
                                                                                4
 that involves the selling of some kind of good, whether digital or physical. See, e.g., Clear with

 Computers I, 21 F. Supp. 3d at 765 (concept of ―selling goods from inventory‖ is an abstract

 business idea).    The generic inventory-checking process claimed by Plaintiff is at least as
 3
    Similarly, the dependent claims mimic commonplace and common-sense business practices
 like telling a customer if an item is available or what its price is. See ‘221 patent, claims 2, 8, 12.
 4
    It is not necessary at this step to determine whether the patent claims anything that departs
 from traditional business methods. See Ultramercial, 772 F.3d at 715 (―We do not agree with
 Ultramercial that the addition of merely novel or non-routine components to the claimed idea
 necessarily turns an abstraction into something concrete. In any event, any novelty in
 implementation of the idea is a factor to be considered only in the second step of the Alice
 analysis.‖).


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                                                                                                 5
 abstract, if not more so, than the advertising-supported media-delivery claims in Ultramercial or

 the inventory-based selling claims in Clear with Computers I (see 21 F. Supp. 3d at 765). And

 like the Ultramercial claims, the ‘221 claims address a common business problem and are not

 ―necessarily rooted in computer technology in order to overcome a problem specifically arising

 in the realm of computer networks.‖ DDR Holdings, 773 F.3d at 1257-58.

          Tellingly, all of the steps of the ‘221 Patent could be performed by a video rental store

 clerk:

 Claim 7 Language6                                 As Performed by a Human
 7. A method for storing media content and         A clerk at a video rental store:
 delivering requested media content to a
 consumer device, the method comprising:
  receiving a request message including media      Accepts requests from customers for videos,
  data indicating requested media content and a    wherein the requests contain certain
  consumer device identifier corresponding to      information including the title of the video,
  the consumer device;                             how long the customer wants to retain it, and
                                                   an identifier for the customer (e.g., the video
                                                   rental store‘s membership card).7

 5
     The steps of the Ultramercial patent are: ―(1) receiving copyrighted media from a content
 provider; (2) selecting an ad after consulting an activity log to determine whether the ad has been
 played less than a certain number of times; (3) offering the media for sale on the Internet; (4)
 restricting public access to the media; (5) offering the media to the consumer in exchange for
 watching the selected ad; (6) receiving a request to view the ad from the consumer; (7)
 facilitating display of the ad; (8) allowing the consumer access to the media; (9) allowing the
 consumer access to the media if the ad is interactive; (10) updating the activity log; and (11)
 receiving payment from the sponsor of the ad. 772 F.3d at 714-15; see also id. at 712
 (reproducing full claim language).
 6
     For simplicity, only the method claim is analyzed here, but the analysis for the corresponding
 system claim would yield the same result. Also, the corresponding system claim is linked to and
 falls with the method claim. To allow the system claim, while invalidating the method claim,
 would permit applicants to preempt abstract ideas by the mere use of patent-drafting
 conventions. See Alice, 134 S. Ct. at 2360 (―This Court has long warn[ed] . . . against
 interpreting § 101 in ways that make patent eligibility depend simply on the draftsman‘s art.‖
 (alterations in original) (quoting Mayo, 132 S. Ct. at 1294) (internal quotation marks omitted)).
 7    For the purposes of a Section 101 inquiry (but not for infringement or other defenses),
 checking to see whether a consumer is using a registered device (as the claim requires) is an idea
 at the same level of abstraction as checking to see whether a consumer has a membership.


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  determining whether the consumer device          Checks the customer‘s membership card
  identifier corresponds to a registered           against a list of approved members without any
  consumer device; and                             late fees.
  if it is determined that the consumer device     If the clerk determines that the customer is on
  identifier corresponds to the registered         the list of approved members, then the clerk
  consumer device, then:                           will determine whether the customer is asking
                                                   for a video that is available for rental now or to
    determining, whether the request message is    back-order a video that isn‘t on the shelves.
    one of a storage request message and a
    content request message; and

  if the request message is the storage request    If the customer wants to back-order a video,
  message, then determining whether the            the clerk will check a list of videos from the
  requested media content is available for         company‘s warehouse to see if the video can
  storage; and                                     be back-ordered.
  if the request message is the content request    If the customer wants a video that is in stock,
  message, then initiating delivery of the         then the clerk will give the video to the
  requested media content to the consumer          customer for rental.
  device;
  wherein the media data includes time data        The clerk is able to receive information from
  that indicates a length of time to store the     customers about how long they would like the
  requested media content; and                     store to stock the video before returning it to
                                                   the warehouse.
  the first processor is further configured to     The clerk checks the shelves of the store and
  determine whether the requested media            the list of warehoused videos to see if the video
  content exists; and                              rental store has the video anywhere.
  if the processor determines that the requested   If the clerk sees that the video rental store has
  media content exists, the processor is further   the video somewhere, the clerk will determine
  configured to determine whether the              whether the video is available and whether
  requested media content is available and         there are any restrictions on the membership
  whether there are restrictions associated with   that would preclude the rental of the video to
  the requested media content that prevent the     the customer (e.g., no restricted movies for
  requested media content from being delivered     members under 17; no rentals to customers
  to the consumer device.                          who have not paid late fees).

        That a human being can perform all of the claim limitations confirms that the ‘221 claims

 are drawn to an abstract idea. See, e.g., Clear with Computers I, 21 F. Supp. 3d at 767 (―[A]

 store clerk, armed with only a pencil and paper, can receive a question about men‘s basketball

 sneakers, determine the options available (color, brand, size, etc.) and the availability of those

 options in inventory, prepare a list of those available options, and present that list to the

 customer.‖); Clear with Computers II, 2015 WL 993392, at *4 (―The claims essentially propose


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 that, instead of a human salesman asking customers about their preferences and then creating a

 brochure from a binder of product pictures and text and using a rolodex to store customer

 information, a generic computer can perform those functions.‖); OpenTV, Inc., 2015 WL

 1535328, at *4 (considering whether claims can be ―performed in the human mind[] or by a

 human using pen and paper‖ to determine whether they are directed to abstract ideas) (quoting

 CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366, 1372 (Fed. Cir. 2011)).

        Accordingly, the claims of the ‘221 Patent are directed to an abstract idea—the idea of

 storing and delivering media content.

                2.      The ’221 Claims Supply No Inventive Step That Would Transform
                        Them into Patent-Eligible Claims.

        As demonstrated above, the ‘221 claims are drawn to the abstract idea of storing and

 delivering media content—the equivalent of checking to see if a video is available for a

 customer. The claim language does not ―do significantly more than simply describe that abstract

 method.‖    Ultramercial, 772 F.3d at 715.       The claim elements do not, individually or in

 combination, require anything but a general-purpose computer to perform the various steps and

 ―add nothing of practical significance to the underlying abstract idea.‖ Id. at 716.

        Individually, each step of the claims of the ‘221 Patent merely describes a component of

 the abstract idea—checking to see if content is available—with the instruction that the step be

 performed by a generic computer. But ―adding the words ‗apply it with a computer‘ simply

 combines those two steps, with the same deficient result.‖               Alice, 134 S. Ct. at 2350;

 Ultramercial, 772 F.3d at 715 (claims that ―simply instruct the practitioner to implement the

 abstract idea with routine, conventional activity‖ held insufficient).

        The ‘221 Patent‘s computerized steps—receiving input (receiving the consumer request

 for media content), sorting information (determining whether the request is one for media



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 content or media storage), checking information against a list or database (determining whether a

 consumer device identifier is linked to a registered consumer device), and providing output

 (delivering requested media content to a consumer)—all describe well-known computer

 functions. See Alice, 134 S. Ct. at 2359 (using a computer to ―obtain data, adjust account

 balances, and issue automated instructions‖ all involve ―well-understood, routine, conventional

 activities previously known to the industry‖); Ultramercial, 772 F.3d at 716 (―[R]outine

 additional steps such as updating an activity log, requiring a request from the consumer to view

 the ad, restrictions on public access, and use of the Internet does not transform an otherwise

 abstract idea into patent-eligible subject matter.‖); buySAFE, Inc. v. Google, Inc., 765 F.3d 1350,

 1355 (Fed. Cir. 2014) (―The computer functionality is generic—indeed, quite limited: a

 computer receives a request for a guarantee and transmits an offer of guarantee in return.‖);

 Content Extraction & Transmission LLC v. Wells Fargo Bank, N.A., 776 F.3d 1343, 1349 (Fed.

 Cir. 2014) (―[D]etecting the presence of a particular one of said defined set of symbols on a hard

 copy document‖ merely described ―generic optical character recognition technology.‖);

 CyberSource Corp., 654 F.3d at 1370 (holding ―mere collection and organization of data‖

 insufficient). Consequently, all of the computer components listed by the ‘221 claims are

 ―purely functional and generic.‖ Alice, 134 S. Ct. at 2360 (―Nearly every computer will include

 a ‗communications controller‘ and ‗data storage unit‘ capable of performing the basic

 calculation, storage, and transmission functions required by the method claims.‖).8



 8
   The ‘221 Patent itself confirms that the claimed invention can be realized using ―[a]ny kind of
 computing system‖ and that a ―typical‖ implementation will not require anything more than a
 ―general purpose computer system.‖ ‘221 Patent, 10:12-19 (emphases added). Further, because
 the ‘221 claims are ―not tied to any particular novel machine or apparatus, [but] only a general
 purpose computer,‖ they also fail the Federal Circuit‘s pre-Alice machine-or-transformation test.
 See Ultramercial, 772 F.3d at 716. While passing this test is no longer conclusive, failing it
 confirms that a patent is directed to unpatentable subject matter. See id. at 717.


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        Nor does the ordered combination of the steps of the ‘221 Patent add anything because

 their sequence—―obtaining, separating, and then sending information‖—―follow[s] from the

 underlying idea of categorical information storage [and delivery].‖ Cyberfone Sys., LLC v. CNN

 Interactive Grp., Inc., 558 Fed. App‘x 988, 993 (Fed. Cir. 2014). Indeed, there is no other way

 to logically perform the invention other than in the sequence recited in its claims: One obviously

 must receive a consumer request for an item before checking to see if it is available, and one

 must check on availability before delivering the item.

        Finally, the ‘221 Patent‘s purported limitation to online media places no meaningful

 limitation on its abstract idea. The ‘221 claims merely invoke the Internet and on-demand media

 generally to take advantage of ―[t]he widespread growth of communication networks and internet

 enabled consumer devices allow[ing] consumers to stream on-demand videos and music.‖ ‘221

 Patent 1:31-33. Any such attempt to limit the covered systems to a ―particular technological

 environment‖ is insufficient to confer patentability. Alice, 134 S. Ct. at 2350; Ultramercial, 772

 F.3d at 716 (―[T]he use of the Internet is not sufficient to save otherwise abstract claims from

 ineligibility.‖); buySAFE, Inc., 765 F.3d at 1355 (―That a computer receives and sends the

 information over a network—with no further specification—is not even arguably inventive.‖).

 Moreover, as the patent itself acknowledges, on-demand streaming via the Internet was

 widespread long before the patent. See ‘221 Patent 1:31-2:16.

        In sum, the ‘221 Patent‘s claims add ―no meaningful limitations to convert the abstract

 idea into patent-eligible subject matter.‖ Ultramercial, 772 F.3d at 714.




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 VI.    CONCLUSION

        As shown above, the claims of the asserted ‘221 Patent are directed to an abstract idea

 and are ineligible for patent protection pursuant to 35 U.S.C. § 101. Accordingly, Discovery

 respectfully requests that this Court dismiss Plaintiff‘s complaint for patent infringement with

 prejudice.




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 Dated: May 20, 2015
                                             Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

         I hereby certify that all counsel of record who have consented to electronic service are
 being served with a copy of this document via the Court‘s CM/ECF system per Local Rule CV-
 5(a)(3) on this the 20th day of May, 2015.


                                             _________________________
                                             Michael C. Smith




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